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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                                         ORDER
v.

CARY K. BEAGLEY,                                               Case No. 2:03CR178 DAK

                       Defendant.




       Defendant Cary K. Beagley has filed a petition to terminate what remains of his term of

supervised release. After serving his 30-month sentence, Mr. Beagley has now served

approximately 26 months of his 36-month term of supervised release. The government opposes

this motion, claiming that Mr. Beagley is serving a mandatory minimum term of supervised

release, which cannot be reduced by the court.1

       The court disagrees with the government for the reasons set forth by the Honorable Ted

Stewart in United States v. McClister, 2008 WL 153771 (D. Utah Jan. 14, 2008) (unpublished).

In McClister, Judge Stewart followed the reasoning of the Sixth Circuit and the Northern District

of Illinois in finding that a court retains the authority under 18 U.S.C. § 3583(e) to terminate a

defendant’s term of supervised release. Id. at *2 (citing United States v. Scott, 362 F. Supp. 2d



       1
         The government claims that Mr. Beagley was sentenced to serve four years of
supervised release, but he was not; he was sentenced to a 36-month term of supervised release.
See docket # 550.
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982 (N.D. Ill 2005) and United States v. Spinelle (41 F.3d 1056 (6th Cir 1994)).

       After considering the factors set forth in 18 U.S.C. § 3583(e), the court finds that

terminating supervised release is warranted by Defendant’s conduct and is in the interest of

justice. In addition, the United States Probation Office does not oppose the early termination of

supervised release.

       Therefore, for good cause appearing, the court hereby orders that Mr. Beagley’s term of

supervised release is TERMINATED.

       DATED this 4th day of June, 2008.

                                             BY THE COURT:



                                             DALE A. KIMBALL
                                             United States District Judge




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